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                       CRIMINAL JURY TRIAL PROCEEDINGS

 Date: 1/09/2024               Case No. 1:21-cr-00260      Time: 9:30–11:12
                                                                 11:32- 1:00
                                                                 2:00- 4:12
                                                                 4:33–6:00

Before the Honorable: Leonie M. Brinkema

Court Reporter:    S. Austin

Spanish Interpreters: Cynthia Lopez Roman, Susana Martin, and Jamie de Castellvi

Case Number: 1:21CR00260

UNITED STATES OF AMERICA                                John Blanchard, Maureen Cain,
                                                        Matthew Hoff
vs.
*JAIRO GUSTAVO AGUILERA SAGASTIZADO (1) Jeff Zimmerman, Joseph King
*MELVIN CANALES SALDANA (3)             Lana Manitta, Dwight Crawley
MANILESTER ANDRADE RIVAS (8)            Frank Salvato, Michael Sprano

*Spanish Interpreter

The government continued to adduce evidence.

Jury excused at 5:55 to return Wednesday, 1/10/2024 @ 9:30.


Defendants remanded.
